Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 1 of 30 PageID 1
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 2 of 30 PageID 2
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 3 of 30 PageID 3
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 4 of 30 PageID 4
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 5 of 30 PageID 5
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 6 of 30 PageID 6
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 7 of 30 PageID 7
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 8 of 30 PageID 8
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 9 of 30 PageID 9
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 10 of 30 PageID 10
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 11 of 30 PageID 11
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 12 of 30 PageID 12
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 13 of 30 PageID 13
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 14 of 30 PageID 14
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 15 of 30 PageID 15
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 16 of 30 PageID 16
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 17 of 30 PageID 17
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 18 of 30 PageID 18
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 19 of 30 PageID 19
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 20 of 30 PageID 20
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 21 of 30 PageID 21
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 22 of 30 PageID 22
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 23 of 30 PageID 23
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 24 of 30 PageID 24
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 25 of 30 PageID 25
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 26 of 30 PageID 26
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 27 of 30 PageID 27
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 28 of 30 PageID 28
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 29 of 30 PageID 29
Case 4:22-cr-00034-O Document 1 Filed 02/09/22   Page 30 of 30 PageID 30
